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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


         GLOBAL SALES GROUP, CORP.
                  Plaintiff,
                                                               Civil No. 23-1213 (SCC)
                              v.

       SENCI POWER USA, INC. D/B/A A-
               IPOWER, CORP.
                  Defendant.




                                                      ORDER


         Pending before the Court is the Motion to Quash Subpoena and Request for Attorneys’
Fees filed by Any Parts Corporation (“Any Parts”) at Docket No. 71. Any Parts, a nonparty to the
instant case, was served with a subpoena to produce documents under Rule 45 of the Federal Rules
of Civil Procedure. Any Parts moved to quash the subpoena arguing that the subpoena seeks
documents that could be produced by Defendant or documents that are irrelevant to Global Sales
Group, Corp.’s (“Global Sales”) causes of action in this case. Docket No. 71. Global Sales objected
to the motion at Docket No. 72. On October 16, 2024, the undersigned held an argumentative
hearing. Docket No. 91. The parties were ordered to confer and inform the Court on the results of
their negotiations. No agreements were reached but Global Sales waived its Request No. 6 of
Attachment A to the subpoena.1 See Docket No. 93. The Court rules on Request Nos. 1, 2, 3, 4, 5,
7, and 8 as follows.
         Rule 45(a) of the Federal Rules of Civil Procedure allows a party to serve on a nonparty a
subpoena to produce documents. Fed.R.Civ.P. 45(a). The nonparty who receives a subpoena may
object to the requested production and move to quash the subpoena when, among other reasons,
the sought production represents an undue burden. Fed.R.Civ.P. 45(d)(3). The burden to establish
that the subpoena should be quashed rests with the movant. 9A Wright and Miller, Federal Practice


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                    Request No. 6 sought: Copy of any and all financial records, including bank statements, ledgers,
and accounting records, that reflect the revenue, profits, or income derived by Any Parts Corporation and/or OE Global
Parts, Inc., from the sale or distribution of “A-iPower” branded products in Puerto Rico and/or the United States Virgin
Islands.
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and Procedure at § 2459. If the documents sought are not subject to privilege and might be relevant
to the controversies posed in the case, the discovery is generally allowed. Id. The scope of
documents that are discoverable through a subpoena is governed by Rule 26 of the Federal Rules
of Civil Procedure, “which allows discovery of items reasonably calculated to lead to the discovery
of admissible evidence.” Jee Fam. Holdings, LLC v. San Jorge Children's Healthcare, Inc., 297
F.R.D. 19, 20 (D.P.R. 2014) (citing Fed.R.Civ.P. 26(b)(1), internal quotations omitted).
       Any Parts has not asserted privilege, the need to protect a trade or commercial secret, or
that it would have to incur in unreasonable expenses to comply with the subpoena. The Court thus
reviews for undue burden—considering whether the sought information is necessary and whether
it is available from any other source. 9A Wright and Miller at §2463.1.
       Global has requested the following documents in Attachment A to the subpoena:
       1. Copy of any and all agreements by and between Any Parts Corporation,
          OE Global Parts, Inc., Senci Power USA, Inc. d/b/a A-iPower Corp.
          and/or Chongqing Senci Imp. & Exp. Co. Ltd. (a/k/a “Chongqing Senci
          Group”) for the sale and distribution of “A-iPower” branded products.

       2. Copy of any and all purchase orders sent by Any Parts Corporation
          and/or OE Global Parts, Inc. to Senci Power USA, Inc. d/b/a A-iPower
          Corp. and/or Chongqing Senci Imp. & Exp. Co. Ltd. (a/k/a “Chongqing
          Senci Group”) for the purchase of “A-iPower” branded products.

Any Parts initially argued that production of the foregoing documents was unduly burdensome
because these could be obtained from Defendant. However, in its motion at Docket No. 93, Any
Parts has now explained that it obtained all A-iPower branded products from OE Global Parts, Inc.
(“OE Global”) and not directly from Defendant. This being the case, Defendant would not have
access to documents exchanged between Any Parts and OE Global for the purchase and sale of A-
iPower products by Any Parts. Those documents would be in the hands of Any Parts and OE
Global only. Nevertheless, Any Parts now informs that no written agreements or purchase orders
exist as the purchases of A-iPower products by Any Parts were made by telephone. Any Parts has
offered to provide Global Sales a statement under penalty of perjury as evidence of the foregoing.
Any Parts is thus ORDERED to provide Global Sales a statement under penalty of perjury to
establish that it is not in possession of any documents that are responsive Request Nos. 1 and 2
above by November 20, 2024.
       Global Sales also requested:


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       3. Copy of any and all invoices received by Any Parts Corporation and/or
          OE Global Parts, Inc. from Senci Power USA, Inc. d/b/a A-iPower
          Corp. and/or Chongqing Senci Imp. & Exp. Co. Ltd. (a/k/a “Chongqing
          Senci Group”) for the sale of “A-iPower” branded products.

       4. Copy of any and all shipping documents and receipts received or
          generated by Any Parts Corporation and/or OE Global Parts, Inc. related
          in any way to the same of “A-iPower” branded products.

       5. Copy of any and all communications, documents or other information
          (including, without limitation, emails, letters, faxes, text messages, and
          instant messages) exchanged by and between Any Parts Corporation,
          OE Global Parts, Inc., Senci Power USA, Inc. d/b/a A-iPower Corp.
          and/or Chongqing Senci Imp. & Exp. Co. Ltd. (a/k/a “Chongqing Senci
          Group”) related in any way the sale and distribution of “A-iPower”
          branded products.

       7. Copy of any and all documents and communications (including, without
          limitation, emails, letters, faxes, text messages, and instant messages)
          between Any Parts Corporation and any affiliate or third party regarding
          the purchase, sale, or distribution of “A-iPower” branded products.

       8. Copy of any other documents or records in the possession, custody, or
          control of Any Parts Corporation that are related in any way to the
          purchase, sale, or distribution of “A-iPower” branded products.

Initially, Any Parts also argued that any responsive documents to Request Nos. 3, 4, and 5 could
be sought from Defendant and that a nonparty should not be bothered with the expenses of
producing documents available to Global Sales through other means. Docket No. 71. But in its
motion at Docket No. 93, Any Parts now argues that any responsive documents to those requests,
and to those in Request Nos. 7 and 8, are not relevant to the claims asserted by Global Sales in this
case. I disagree. The sought documents are relevant to the claims asserted by Global Sales and
cannot be obtained from Defendant.
       In the Amended Complaint, Global Sales claims relief for the impairment and subsequent
termination of its purported exclusive distribution agreement for the distribution of A-iPower
products in Puerto Rico. Docket No. 47. Global Sales alleges that in the year 2014, it was appointed
the exclusive distributor of A-iPower products in Puerto Rico. Id. at ¶ 10. As alleged, this
relationship was terminated by A-iPower without just cause in the year 2023. Id. at ¶¶ 34-35. It is
also alleged that A-iPower made over $5,000,000 in direct sales to Any Parts “circumventing
GSG’s exclusive distribution channel for Puerto Rico” and designated Any Parts as its new

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distributor in Puerto Rico. Id. at ¶¶ 25, 35. Global Sales seeks the payment of unpaid commissions
and the imposition of damages against A-iPower for violations to the Puerto Rico Dealers’ Act.
Id. at pp. 11-12. Any Parts has admitted that it acquired A-iPower branded products for the sale of
such products in Puerto Rico through OE Global. Because Global Sales alleges that it was the
exclusive distributor of A-iPower products from 2014 through 2023, presumably the sale of any
A-iPower products in Puerto Rico during that time should have been made through Global Sales.
The circumstances under which Any Parts acquired and sold any such products during the relevant
time are thus relevant to the controversies in this case. Any Parts has not shown that producing
responsive documents would be unduly burdensome and onerous. See Dumanian v. First Bank
Puerto Rico, 2021 WL 5982638, at *3 (D.P.R. Dec. 17, 2021) (quoting Sterling Merch. Inc. v.
Nestle, S.A., 2008 WL 1767092, at *1-2 (D.P.R. 2008)) (a party resisting subpoena “cannot rely
on a mere assertion that compliance would be burdensome and onerous without showing the
manner and extent of the burden and the injurious consequences of insisting upon compliance.”).
Any Parts’ motion to quash these requests is DENIED. Any Parts is ORDERED to produce any
responsive documents to Request Nos. 3, 4, 5, 7, and 8 on or before November 20, 2024.
       IT IS SO ORDERED.
       In San Juan, Puerto Rico, this 6th day of November 2024.

                                                     s/Giselle López-Soler
                                                     GISELLE LÓPEZ-SOLER
                                                     United States Magistrate Judge




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